DOCUMENTS UNDER SEAL
                    Case 3:21-mj-70422-MAG Document 31 Filed 09/07/21 Page 11 of
                                                         TOTAL TIME (m ins):
                                                                                 1
                                                                              minute
MAGISTRATE JUDGE                         DEPUTY CLERK                               REPORTER/',*,7$/5(&25',1*
MINUTE ORDER=220                      Melinda K. Lock                            10:39-10:40
MAGISTRATE JUDGE                          DATE                                       NEW CASE         CASE NUMBER
SALLIE KIM                               September 7, 2021                                         3:21-mj-70422-MAG-1
                                                     APPEARANCES
DEFENDANT                                 AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.      RET.
Brendan Tatum                                      N        P       Stuart Hanlon                         APPT.
U.S. ATTORNEY                             INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Cynthia Frey                                                                     SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                            Ana Mendoza                             APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING               IA REV PROB. or          OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA                PROB. REVOC.             ATTY APPT
                                                                                                             HEARING
                                                   INITIAL APPEARANCE
        ADVISED                 ADVISED                 NAME AS CHARGED               TRUE NAME:
        OF RIGHTS               OF CHARGES              IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED           ISSUED                    AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND           $                                                    SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED          RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                      STATUS RE:
9/24/2021                        HEARING                  HEARING                   CONSENT               TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY              CHANGE OF            67$786
                                 AFFIDAVIT                 HEARING                  PLEA
10:30 AM                                                   BBBBBBBBBBBBB
BEFORE HON.                      DETENTION                 $55$,*1MENT              MOTIONS               JUDGMENT &
                                 HEARING                                                                  SENTENCING
Sallie Kim
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /               PRETRIAL              PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL                  CONFERENCE            HEARING
                                 3161                      HEARING
                                                ADDITIONAL PROCEEDINGS
Defendant consents to proceeding by video. The preliminary hearing is currently set for 9/24/2021. The Government intends to
seek an indictment before that date.

                                                                                        DOCUMENT NUMBER:
